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                   EXHIBIT A
                            Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 2 of 56

                                                                                                                                 DE-115/GC-015
  ATTORNEY OR PARTY WITHOUT ATTORNEY                         STATE BAR NUMBER: 155896                               FOR COURT USE ONLY
  NAME: RobertMills. Esq.
 FIRM NAME: LawOffice of Robert Mills
 STREET ADDRESS: 1429 S. Valley Center Ave.

  CITY: Glendora                                            STATE:CA      ZIP CODE:91740

 TELEPHONE NO.:(626)827-1419                                FAX NO.;(909)592-3688

 EMAIL ADDRESS: rObeTtaMIIIS-law-OffiCe.COM

 ATTORNEY FOR (name): GEORGINA G. BANAAG

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Francisco
  STREET ADDRESS:400 McAllister St.
  MAILING ADDRESS:400 McAllister St.
 CITY AND ZIP CODE:San Francisco. CA 94102-4515
     BRANCH NAME:Civic Center Courthouse

        ESTATE OF (name): F-1 iN THE MATTER OF (name):
        AURORA V. BARCEBAL REVOCABLE TRUST.DATED 05/24/2010
                I       I   DECEDENT       X    TRUST     -
                                                          I 1 CONSERVATEE                  MINOR

                                 NOTICE OF HEARING ON                                                CASE NUMBER:

                       PETITION TO DETERMINE CLAIM TO PROPERTY                                       PTR-22-305656

      A petition has been filed asking the court to determine a claim to the property identified in 3, and a hearing on the
      petition has been set. Please refer to the petition for more information.
      If you have a claim to the property described in 3, you may attend the hearing and object or respond to the petition. If
      you do not want to attend the hearing, you may also file a written response before the hearing.
      If you do not respond to the petition or attend the hearing, the court may make orders affecting ownership of the
      property without your input.

 1. NOTICE is given that(name): GEORGINA G. BANAAG
   ( fiduciary or representative capacity, if any):
    has filed a petition entitled (state complete title): See Attachment 1
    under Probate Code section 850 asking for a court order determining a claim or claims to the property described in 3.




     r7I- ea—N
            ring
2. A HEARING on the petition will be held as follows:
                                                                             Name and address of court if different from above:
                            Date: 12/13/2022          Time: 9:00 a.m.
          Date
                            Dept.: 204                Room:

3. The property that is the subject of the petition is (describe each item ofreal or personal property;for real properly—Le., land or
   buildings—give the street address or, if none, describe the property's location and give the assessor's parcel number):
   1. Aurora V. Barcebal Revocable Trust, Dated 05/24/2010 and all assets.
   2. Citigold Trust Account xm000<2957.
   3. Relief sought from Respondents: See No. 4, below.




             Continued on Attachment 3.
Check 4 only if the petition seeks the additional relief described.
4. x I In addition to seeking to recover the property described in 3, the petition also alleges and seeks relief for bad faith conduct,
         undue influence in bad faith, or elder or dependent adult financial abuse. The petition describes these allegations in detail.
         Based on the allegations, the petition seeks to recover twice the value of the property described in 3
                 and requests that the court award attorney's fees and costs to the petitioner.(Prob. Code,§ 859.)

                    Requests for Accommodations



 al                 Assistive listening systems, computer-assisted real-time captioning, or sign language interpreter services are available if
                    you ask at least five days before the hearing. Contact the clerk's office or go to www.courts.ca.gov/formsfor Requestfor
                    Accommodations by Persons With Disabilities and Response(form MC-410) (Civ. Code,§ 54.8.)

Form Adopted for Mandatory Use
Judicial Council of California
                                                         NOTICE OF HEARING ON
                                                                                                                                               I
                                                                                                                                             Page 1 012
                                                                                                                              Probate Code,§§ 851, 1215,
                                                                                                                                       1220, 1460, 17203
DE-115/GC-015[New January 1,2020]              PETITION TO DETERMINE CLAIM TO PROPERTY                                                 www.courts.ca.gov
                        Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 3 of 56

                                                                                                                             DE-115/GC-015,
         ESTATE OF(name):   x IN THE MATTER OF (name):                                            CASE NUMBER:
        AURORA V. BARCEBAL REVOCABLE TRUST. DATED 05/24/2010                                           PTR-22-305656
                   DECEDENT       TRUST          CONSERVATEE                             MINOR

                                                           PROOF OF SERVICE BY MAIL*

 1. I am over the age of 18 and not a party to this cause. I am a resident of or employed in the county where the mailing occurred.

 2. My residence or business address is (specify):
    1429 S. Valley Center Ave., Glendora, CA 91740



3. I served the foregoing Notice of Hearing on Petition to Determine Claim to Property on each person named below by
   enclosing a copy in an envelope addressed as shown below AND
     a.           depositing the sealed envelope on the date and at the place shown in item 4 with the U.S. Postal Service with the
                  postage fully prepaid.
     b.           placing the envelope for collection and mailing on the date and at the place shown in item 4 following our ordinary
                  business practices. I am readily familiar with this business's practice for collecting and processing correspondence for
                  mailing. On the same day that correspondence is placed for collection and mailing, it is deposited in the ordinary
                  course of business with the U.S. Postal Service in a sealed envelope with postage fully prepaid.

4. a. Date mailed: 11/09/2022
     b. Place mailed (city, state): Glendora. CA

5.     x     I served with the Notice of Hearing on Petition to Determine Claim to Property a copy of the petition referred to in the Notice.


I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: 11/09/2022

 Robert Mills
                            (TYPE OR PRINT NAME)


                                      NAME AND ADDRESS OF EACH PERSON TO WHOM NOTICE WAS MAILED
                  Name                                                Address fstreet & number. city, state. zip code)
1. Citibank Service Center                         100 CITIBANK DRIVE
   do DCAM                                         SAN ANTONIO TX 78245

2. CITIGOLD SERVICES
                                                   PO Box 6201
                                                   Sioux Falls, SD 57117

3. CITIBANK, N.A.                                  4455 Geary Blvd.
                                                   San Francisco, CA 94118

4.


5.


6.


            Continued on an attachment.(You may use Attachment to Notice of Hearing Proof of Service by Mail,
            form DE-120(MA)/GC-020(MA), for this purpose.)
* Do not use this form to prove personal or electronic service. You may use form DE-120(P)or GC-020(P)to prove personal service.

DE-115/G C-015[New January 1, 20201
                                                       NOTICE OF HEARING ON                                                           Page 2 of,2
                                        PETITION TO DETERMINE CLAIM TO PROPERTY
For your protection and privacy, please press the Clear
This Form button after you have printed the form.        tfrint:thisfotrni Save this form''                               Clear this forth
              Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 4 of 56




                                                                             DEPARTMENT: 204
 1   Robert Mills, Esq. [SBN: 155896]                                     Hearing: 12113120229:00 am
     LAW OFFICE OF ROBERT MILLS
 2   1429 S. Valley Center Avenue                                            ELECTRONICALLY
     Glendora, CA 91740
 3   Tel:(626)827-1419                                                          FILED
                                                                             Superior Court of California,
     Fax:(909)592-3688                                                        County ofSan Francisco
 4   Email: robert@mills-law-office.com
                                                                               09/09/2022
 5                                                                           Clerk of the Court
                                                                                BY: LESLIE GOMEZ
     Attorney and Fiduciary (Legal Representative) as Interested Person                     Deputy Clerk
 6   for GEORGINA G. BANAAG,Heir/Interested Person
 7

 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                              FOR THE COUNTY OF SAN FRANCISCO
10                                                                                PTR-22-305656
     In Re:                                           Case No.:
11

12   AURORA V. BARCEBAL REVOCABLE                    PETITION FOR:
     TRUST,DATED 05/24/2010
13                                                   1.ORDER DIRECTING RESPONDENTS TO
                                                     CONVEY OR TRANSFER ALL PROPERTY OF
14                                                   THE TRUST OF AURORA V. BARCEBAL TO
                                                     PETITIONER HEREIN;
15  PETITIONER:
    ROBERT MILLS,ESQ., AS ATTORNEY                   2.ORDER FINDING RESPONDENTS HAVE IN
16 (FIDUCIARY)FOR GEORGINA G.
                                                     BAD FAITH WRONGFULLY TAKEN,
    BANAAG,HEIR/INTERESTED PERSON.                   CONCEALED,AND/OR DISPOSED OF
17
                                                     PROPERTY BELONGING TO THE TRUST OF
18   RESPONDENTS:                                    AURORA V. BARCEBAL;
     CITIBANK,N.A.; CITIBANK CLIENT
19                                                   3. ORDER FINDING THAT RESPONDENTS
     SERVICES; CITIGOLD CLIENT
                                                     ARE LIABLE FOR TWICE THE VALUE OF
20   SERVICES; CITIGOLD SERVICES.                    THE PROPERTY RECOVERED BY THE
                                                     WITHIN ACTION BROUGHT UNDER
21                                                   PROBATE CODE § 805 ET SEQ.;
22                                                   4.INTENTIONAL MISREPRESENTATION;
23                                                   5.NEGLIGENT MISREPRESENTATION; AND
24                                                   6.CONCEALMENT.
25                                                  [Probate Code §850]
26
                                                     DATE:     DECEMBER 13,2022
27                                                   TIME:     9:00 a.m.
                                                     DEPT.:    204
28


                                                       1
                           PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
                Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 5 of 56




 1
             Petitioner, ROBERT MILLS,ESQ.("Attorney Mills" or "Petitioner"), as an Interested Person by
 2
     virtue of serving as legal representative for Heir/Interested Person, GEORGINA G. BANAAG("Ms.
 3
     Banaag"), pertaining to the Aurora V. Barcebal Revocable Trust, Dated 05/24/2010 (the "Trust"),
 4
     alleges:
 5
                                  JURISDICTION,STANDING AND VENUE
 6
             1.      The Court has jurisdiction over this matter under Probate Code §§850(a)(2)(C) and(D)
 7
     because the assets at issue belong to a Trust, which was validly created by the Settlor, Aurora V.
 8
     Barcebal ("Aurora" or "Decedent").
 9
            2.       Petitioner has standing to bring this Petition pursuant to Probate Code §850(a), which
10
     authorizes a trustee or an interested person to bring a petition in the following cases:"Where the
11
     decedent died in possession of, or holding title to, real or personal property, and the property or some
12
     interest therein is claimed to belong to another"(Probate Code §850(a)(2)(C)), and "Where the decedent
13
14   died having a claim to real or personal property, title to or possession of which is held by another."

15 (Probate Code §850(a)(2)(D).)
16          3.       Probate Code § 48(a)(1) defines an "interested person" to include "an heir, devisee,

17   child, spouse, creditor, beneficiary, and any other person having a property right in or claim against a

18   trust estate or the estate of a decedent which may be affected by the proceeding."

19          4.       Section 48(a)(3) provides that "an interested person" includes "a fiduciary representing

20   an interested person."

21          5.       Ms. Banaag is the niece ofDecedent and is a rightful heir and is an interested person.

22   Attorney Mills represents Ms. Banaag in this matter and thus, Attorney Mills is a fiduciary representing

23   an interested person. Probate Code § 39 states:" 'Fiduciary' means personal representative, trustee,

24   guardian, conservator, attorney-in-fact under a power of attorney, custodian under the California

25   Uniform Transfer To Minors Act(Part 9(commencing with Section 3900) of Division 4), or other legal

26   representative subject to this code."(Italics added.)

27          6.      Section 48(b) states:"The meaning of'interested person' as it relates to particular

28   persons may vary from time to time and shall be determined according to the particular purposes of, and
     matter involved in, any proceeding."
                                                         2
                              PETITION FOR ORDERS(PROBATE CODE § 850 etseq)
                 Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 6 of 56
1



     1           7.      Venue is properly in the County of San Francisco under Probate Code §17005(b) which
     2   provides: "If a living trust has no trustee, the proper county for commencement of a proceeding for
     3   appointing a trustee is the county where the trust property, or some portion ofthe trust property, is
     4   located."
     5                                            PARTIES INVOLVED
     6           8.     Aurora V. Barcebal, settlor and Decedent.
     7          9.      Georgina G.Banaag,Interested Person.
     8           10.    Robert Mills, Esq., Petitioner as interested person/legal representative of Ms.Banaag.
     9           1 1.   Citibank, N.A.; Citibank Client Services; Citigold Client Services; Citigold Services,
    10   collectively referred to hereinafter as "Citibank" or "Respondents."
    11                       BACKGROUND FACTS AND GENERAL ALLEGATIONS
    12           12.    Aurora V. Barcebal passed away in Manila, Philippines on January 23, 2015.
    13           13.    During her life and at the time of her death, Aurora was not married and had no children.
    14   She was an accountant and former executive of Bank of America.
    15           14.    In or about 2010, Aurora created a trust named "Aurora V. Barcebal Revocable Trust,
    16   Dated 05/24/2010"(the "Trust") with Aurora serving as the Trustee. Aurora opened a Trust bank
    17   account at a Citibank bank branch in San Francisco, CA,that account being Citigold Account
    18   ?ocxxx,o(2957 (the "Trust account"). The initial deposit amount is not known at this time.
    19           15.     As of October 31, 2021,the balance ofthe Trust account was $302,831.00.(A true and
    20   correct copy ofthe Citibank statement for Aurora's Trust account for the period of October 1, 2021 to
    21   October 31,2021 is attached hereto as Exhibit A.)
    22          16.     Aurora was a resident ofthe United States, specifically in the city of San Francisco, CA,
    23
         since approximately mid-1960s. Aurora had dual citizenship ofthe United States and Philippines. In
    24
         2014, Aurora moved to Manila, Philippines, with the likely intent to retire there.
    25
                17.     Petitioner is informed and believes and thereupon alleges that on or about April 24, 2017,
    26
         a letter was written and sent to the U.S. Embassy in Manila, Philippines, to the American Citizen
    27
         Services Unit, to report the death of Aurora on January 23, 2015. A copy of Aurora's Death Certificate
    28
         was attached to said letter, as well as Aurora's U.S. Passport.

                                                              3
                                 PETITION FOR ORDERS(PROBATE CODE § 850 et seq.)
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     4




 1           18.    Petitioner is informed and believes and thereupon alleges that on or about September 24,
 2   2017, a letter was sent on behalf of Mrs. Leonida B. Garcia and Mrs.Zenaida B. Taccad, heirs of
 3   Aurora, to Connie Li at Citibank, located at 4455 Geary Boulevard, San Francisco, CA,informing
 4   Citibank that its account holder — Aurora V. Barcebal — had passed away. Aurora's Death Certificate
 5   was also provided with the letter. Mrs. Garcia and Mrs. Taccad requested Citibank to advise as to the
 6   manner for closing Aurora's Trust account.(A true and correct copy of said letter is attached hereto as
 7   Exhibit B.)
 8           19.    Petitioner is informed and believes and thereupon alleges that soon thereafter, Citibank
 9   replied with a letter advising Mrs. Garcia and Mrs. Taccad to send Citibank the Trust document
10   associated with Aurora's Trust account.
11          20.     Petitioner is informed and believes and thereupon alleges that on or about November 20,
12   2017, Citibank sent another letter from Mr. Gowtham Prabhakaran ofthe Branch and Client Servicers at
13   the Citibank Service Center to Mrs. Garcia in the Philippines asking for an English translated Death
14   Certificate, as well as an "Ancillary Letter issued in California" and a "Notarized Letter ofInstruction
15   and Federal Transfer Certificate issued by the Internal Revenue Service."(A true and correct copy of
16   said letter is attached hereto as Exhibit C.)
17          21.     Petitioner is informed and believes and thereupon alleges that on or about December 18,
18   2017, Mrs. Garcia and Mrs. Taccad — through the law firm of retained counsel Richard Neil S. Chua,
19   located in the Philippines ("Attorney Chua") — sent a reply to Mr. Gowtham Prabhakaran explaining that
20   insofar as the English translated Death Certificate was concerned, this could be accomplished.
21   However, counsel explained that the two other requested documents were nearly impossible to obtain
22   and provide, and counsel asked Citibank for any alternative information/documents which could be
23
     provided to resolve the matter.
24
            22.     Petitioner is informed and believes and thereupon alleges that on or about January 4,
25
     2018, Citibank replied, through a Mr. Arun S.M., with an enclosed trust certification, and requested two
26
     additional documents — a trust agreement and a Federal Transfer Certificate.
27
            23.     Petitioner is informed and believes and thereupon alleges that on or about January 25,
28
     2018, Attorney Chua wrote to Citibank Service Center(ATTN: Mr. Arum S M),requesting information

                                                         4
                             PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
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 1   as to how to resolve the problem of a trust agreement, as well as the lack of any Federal Transfer
 2   Certificate issued by the IRS.(A true and correct copy of said letter is attached hereto as Exhibit D.)
 3          24.     Petitioner is informed and believes and thereupon alleges that on or about March 13,
 4   2018, Attorney Chua apprised Mr. Arun S M that Mrs. Garcia and Mrs. Taccad had visited the United
 5   States Consular Office and were advised to execute a Trust Certification (a deposit account) and to
 6   secure a letter from Citibank US indicating Mrs. Garcia and Mrs. Taccad as trustees of Aurora's Trust.
 7          25.     Petitioner is informed and believes and thereupon alleges that on or about March 22,
 8   2018, Citibank acknowledged receipt of documents furnished by Attorney Chua, and then Citibank
 9   requested additional documents from Attorney Chua, those being a Certified Death Certification, copies
10   of Trust documents, and a Trust Certification. The correspondence from Citibank stated that the matter
11   was being referred to Citibank's Client Services Department.
12          26.     Petitioner is informed and believes and thereupon alleges that on or about March 29,
13   2018, Mr. Arun S.M. at Citibank wrote to Attorney Chua and reiterated Citibank's requests as made in
14   Citibank's January 4, 2018 letter, i.e., a trust agreement and a Federal Transfer Certificate.
15          27.     Petitioner is informed and believes and thereupon alleges that on or about April 30,2018,
16   Attorney Chua wrote a follow-up letter to Citibank, requesting any possible solutions which Citibank
17   may have or suggest to accommodate the age and physical condition of Mrs. Garcia and Mrs. Taccad.
18          28.     Petitioner is informed and believes and thereupon alleges that on or about May 15, 2018,
19   Citibank replied — through a Mr. Omkumar E K — by enclosing a Trust Certification Form along with th
20   Federal Transfer Certificate. Additionally, Mrs. Garcia and Mrs. Taccad were instructed to send
21   Citibank "the original trust agreement" to enable the bank to confirm the Trust's trustees.
22          29.     Petitioner is informed and believes and thereupon alleges that on or about June 13, 2018,
23
     Citibank replied again through Mr. Omkumar E K who reiterated the message almost verbatim as those
24
     posed by Mr. Arun S M in Citibank's letters of March 29,2018 and January 4,2018.
25
            30.     Petitioner is informed and believes and thereupon alleges that on or about July 20, 2018,
26
     Attorney Chua communicated to Citibank to advise that the original Trust agreement is not in the
27
     possession of Mrs. Garcia and Mrs. Taccad, as they were not even aware of Aurora's Citibank Trust
28
     account during the lifetime oftheir sister. Attorney Chua pointed out to Citibank that Citibank should

                                                          5
                             PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
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 1    possess a copy ofthe Trust agreement associated with Aurora's Citibank Trust account, and further
 2    asked if such Trust agreement may be dispensed with considering that Mrs. Garcia and Mrs. Taccad
 3    were lawful heirs. Attorney Chua also acknowledged receipt of Citibank's letter of May 15, 2018.(A
 4    true and correct copy of said letter is attached hereto as Exhibit E.)
 5           31.     Petitioner is informed and believes and thereupon alleges that on or about October 29,
 6    2018, Attorney Chua wrote Citibank a follow-up letter to counsel's July 20,2018 letter. Citibank never
 7    responded to the letter.
 8           32.     Petitioner is informed and believes and thereupon alleges that Citibank finally replied
      through its Client Services in a letter dated November 27, 2018 (unsigned with sender identified as
10 "Citibank Client Services), wherein a request was again made for the "original trust agreement."
11 (Attached hereto as Exhibit F is a true and correct copy of said November 27, 2018 letter.) In its letter,
12    Citibank Client Services suggested:
13
            "If you are needing a copy of the original trust agreement used to open the account please
14          contact the branch of domicile below:
15           4455 Geary Blvd
16           San Francisco, CA 94118
             Phone Number-415-649-6969."
17
             33.     Clearly, Citibank Client Services was aware that the branch domicile would and should
18
      possess a copy ofthe Trust document.
19
             34.     Petitioner is informed and believes and thereupon alleges that on or about February 13,
20
      2019, Attorney Chua wrote to a Ms. Connie Li, the branch manager for Citibank's branch domicile in
21
      San Francisco, CA,requesting the original Trust agreement, as suggested by Citibank Client Services.
22
     (Attached hereto as Exhibit G is a true and correct copy of said February 13,2019 letter.)
23
             35.     Petitioner is informed and believes and thereupon alleges that after not receiving any
24
      response from Ms. Li, Attorney Chua wrote a follow-up letter to Ms. Li on or about May 14, 2019. Ms.
25
     Li never responded to the May 14, 2019 letter.
26
             36.     Attorney Chua then wrote a letter to Citibank Client Services on or about June 16, 2019,
27
     apprising Citibank Client Services ofthe lack of response from Ms. Li at the branch domicile to two
28
      previous letters requesting the original Trust agreement from Citibank. Attorney Chua also

                                                           6
                                 PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
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  1   acknowledged receipt of Citibank's letters ofNovember 27, 2018 and February 25, 2019.(Attached
 2    hereto as Exhibit H is a true and correct copy of said June 16, 2019 letter.)
 3            37.     Petitioner is informed and believes and thereupon alleges that after not receiving any
 4    response from Ms. Li to counsel's May 14, 2019 letter, Ms. Banaag (i.e., interested person herein)
 5    telephoned Citibank in San Francisco, CA and personally spoke with Ms.Li.
 6            38.     Based on information and belief, Ms. Li informed Ms. Banaag that she had sent out a
 7    reply letter to Attorney Chua's office (which was never received), and Ms. Li also informed Ms. Banaag
 8    in their telephone conversation that:
 9
             "They (referring to Citibank)do not keep a copy ofthe Trust Agreement..." and that"...the
10           only option is to take up the matter with the US Court."
11            39.    Petitioner is informed and believes and thereupon alleges that on or about July 12, 2019,

12    Citibank Client Services replied to Attorney Chua through a Mr. Albert Almaraz, who advised that the

13    matter was being investigated and that a response would be provided in two weeks.

14           40.     Two weeks came and went and no further communication was made by or received from

15    Citibank after July 12,2019, as Mr. Albert Almaraz at Citibank Client Services had advised in his letter
16    of July 12,2019.
17           41.     Due to the older ages of Mrs. Garcia and Mrs. Taccad, Ms. Banaag (interested person
18    herein) began handling this matter as a niece and heir of Aurora. In December 2019, Ms. Banaag
19    retained the services of a United States attorney ("Attorney Capulong") to assist with further contact
20    with Citibank. However, since being retained in 2019, Attorney Capulong has failed to carry out any
21    services for Ms. Banaag and Attorney Capulong would occasionally reply to Ms. Banaag's emails
22    requesting status with responses stating that she was out ofthe office, that she had health issues, and
23    paralegal problems, etc.
24           42.     On or about August 10, 2021, Citibank sent a letter to Aurora at her residence in Manila,
25    Philippines regarding her checking account. This letter was sent by Citibank directly to Aurora despite
26    Citibank being informed in writingfour years prior on September 24, 2017 ofAurora's death in 2015
27 (with Aurora's death certificate).(Attached hereto as Exhibit I is a true and correct copy of said August
28    10, 2021 letter.)


                                                          7
                              PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
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     1




 1           43.     The August 10,2021 Citibank letter informed the deceased Aurora that there had been no
 2   activity in her account "over a period of years." The letter stated that:
 3
            "Because your physical address on record with Citibank NA is outside ofthe United
 4          States your account is subject to the abandoned property law of Citibank NA's State of
            Incorporation which is South Dakota. This law requires banks to transfer to the state the
 5          balances in accounts in which there have been no deposits, withdrawals or written
 6          communication from you."

 7           The August 10, 2021 letter further stated:
 8          "If(certain action) is not performed by 09-24-2021, your funds will be sent to the state of
 9          Citibank NA's incorporation and you will need to file a claim with that state to claim your
            funds"(meaning South Dakota).
10
             44.     Ms. Banaag relayed the Citibank letter to Attorney Capulong to respond to Citibank and
11
     Attorney Capulong advised Ms. Banaag that she would contact Citibank and then contact Ms. Banaag
12
     when she heard back from Citibank. Attorney Capulong never contacted Ms. Banaag.
13
             45.    In or about November 2021, Ms. Banaag was able to obtain the first page of a Citigold
14
     statement for Aurora's Trust Account)000000(2957,for the period October 1, 2021 to October 31,
15
     2021. The statement shows that the Trust account was active with a balance of over $300,000.00.(See
16
     Exhibit A.)
17
            46.     In or about November 2021, Ms. Banaag retained the services ofthe Law Office of
18
     Robert Mills ("Attorney Mills") to assist her in this matter and to assist in obtaining information from
19
     Citibank regarding Aurora's Trust account.
20
            47.     After review of the information and after researching the available options for Ms.
21
     Banaag to pursue, Attorney Mills first drafted and sent a letter dated April 8, 2022 to various Citibank
22
     offices to assist in providing needed information regarding Aurora's Trust and Trust account, primarily
23
     the Trust document itself, to allow Ms. Banaag to identify any named trustee(s) and beneficiary(ies) so
24
     as to allow a proper handling and distribution of Trust assets without further delay.(Attached hereto as
25
     Exhibit J is a true and correct copy of said April 8, 2022 letter.)
26
            48.     In response to Attorney Mills' April 8, 2022 letter, Attorney Mills received a letter dated
27
     April 22, 2022 from Citibank's Office ofthe President — the letter was not signed and the sender is
28
     identified as "Your Citi Executive Response Team" — wherein the letter stated:

                                                           8
                              PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
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 1
              "During our review of the account, we were unable to identify you or your client as
 2            authorized signers on the account and are therefore unable to provide you any information
              regarding the documents maintained by Citibank regarding the account. Please provide us
 3            with Letters of Administration or Letters Testamentary for the Estate of Aurora Barcebal
              so that we may provide the feedback that you require to assist your client."(Attached hereto
 4
              as Exhibit K is a true and correct copy of said April 22,2022 letter.)
 5            49.     Ms.Banaag does not possess and never has possessed Letters of Administration or
 6
     Letters Testamentary because a probate matter was never opened in California (or any other state in the
 7
     United States). Aurora's sole property in the U.S. are the Trust assets which would not be included as an
 8
     estate asset under the California Probate Code and thus a probate case would be moot.
 9
              50.     Citibank's April 22,2022 letter further stated:
10
              "While reviewing the account, we were able to determine that the account was closed on
11            October 1, 2021, because the account was considered abandoned property, and the funds
12            were escheated to the State of California."(See Exhibit K.)
              51.     Citibank's letter contradicted Citibank Trust account statement(Exhibit A for October 1,
13
14   2021 to October 31, 2021) which showed that Aurora's Trust account was active and still in Citibank up

15   to October 31, 2021.

16            52.     Further, the Citibank letter contradicted Citibank's prior letter of August 10, 2021 which

17   stated that Aurora's Trust account funds would be escheated to South Dakota.

18            53.     Further, Citibank acknowledges in its April 22, 2022 letter that the bank did possess

19   information regarding Aurora's Trust account which Petitioner contends would likely assist Ms. Banaag

20   in obtaining the information which has been requested from and denied by Citibank for the past five(5)

21   years.

22            54.     Attorney Mills received a letter from Citibank Client Services in San Antonio, TX,dated

23   May 5, 2022, in response to Attorney Mills' April 8, 2022 letter regarding the Trust account.(Attached

24   hereto as Exhibit L is a true and correct copy of said May 5, 2022 letter.) In this May 5, 2022 letter,

25   Citibank states:

26            "Our records show in 10/1/21, the funds from the above mentioned account were remitted
27            to the State of California as dormant property. To reclaim the funds, you must file a claim
              with     the (sic) California. Please            visit the      California   website     at
28            https://southdakota.findyourunclaimedproperty.com/ for assistance in the matter."
              The May 5, 2022 letter further stated:
                                                           9
                               PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
            Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 13 of 56




 1
            "Please be informed it will take about 6-12 weeks for the funds to show on the website. It
 2          might be longer with Covid-19. After the database has been updated you will be able to get
            the        property                     number          from         this        website:
 3          https://southdakota.findyourunclaimedproperty.comr
 4          55.     Once again, Citibank contradicts its own information. Citibank represents in its May 5,
 5   2022 letter that the funds "were remitted to the State of California as dormant property," while
 6   Citibank's August 10, 2021 letter represented that the funds would be escheated to South Dakota as
 7   abandoned property.
 8          56.     Citibank's May 5, 2022 letter also repeats the representation that the funds were
 9   escheated on October 1, 2021, contradicting Citibank account statement(Exhibit A;for October 1, 2021
10   to October 31, 2021) which shows that Aurora's Trust account was active and still in Citibank up to
11   October 31, 2021.
12          57.     At or about the time the within Petition was prepared, Petitioner has followed Citibank's
13   advice to search for abandoned property in both California and South Dakota. A search reveals that ther
14   are no records of any funds belonging to Aurora and/or her Trust that has been escheated to or otherwise
15   lodged by Citibank with these two states as abandoned property.(Attached hereto as Exhibits M and N
16   are true and correct copies of search results from South Dakota Treasurer Unclaimed Property Division
17   and California State Controller site for unclaimed property.)
18          58.     Petitioner thus brings this Petition due to the inconsistent and misleading information and
19   the misrepresentations given by Citibank personnel regarding Aurora's Trust documents and funds.
20   Despite due diligence by Petitioner and others mentioned above, Aurora's Trust funds are nowhere to be
21   found and Citibank was the last to have possession ofthe funds. Citibank's representations that the Trus
22   funds were escheated are suspect, at best, as Citibank represents on one hand that Aurora's Trust funds
23   were escheated to California and then represents on the other hand that the Trust funds were escheated
24
     to South Dakota. A search of both these States' abandoned property sites show no money or property
25
     related to Aurora's Trust were ever sent by Citibank or received by these States.
26
            59.     Accordingly, Petitioner alleges that Citibank has in bad faith wrongfully taken,
27
     concealed, and/or disposed ofthe funds and property belonging to Aurora's Trust and that Citibank must
28


                                                         10
                             PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
             Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 14 of 56




 1   be found liable for twice the value ofthe property recovered by this action, pursuant to California
 2   Probate Code § 859.
 3                                         FIRST CAUSE OF ACTION
 4                     (Bad Faith Taking, Concealment,and Disposal of Trust Property;
 5                                          Probate Code § 850 et seq.)
 6           60.     Petitioner incorporates by reference as though fully set forth herein all previous
 7   allegations of this Petition.
 8          61.      Respondents has intentionally and consciously acted in bad faith by taking Aurora's
     Trust funds and disposed of said funds without any intent to locate the funds and return the funds to the
10   representatives of Aurora.
11          62.      Respondents have been and are unjustly enriched by acting in bad faith in taking,
12   concealing and disposing ofAurora's Trust funds, and pursuant to Probate Code § 859, Respondents
13   should be found liable for twice the value ofthe property recovered from Respondents or any transferee
14   ofthe property.
15                                       SECOND CAUSE OF ACTION
16                                      (Intentional Misrepresentation)
17          63.     Petitioner incorporates by reference as though fully set forth herein all previous
18   allegations of this Petition.
19          64.     Respondents represented to Ms. Banaag and Petitioner herein that an important fact was
20   true, that being that Citibank did not have documents or information regarding Aurora's Trust account
21   at Citibank, and that the Trust account funds had been escheated to the state of California and/or South
22   Dakota.
23          65.     Respondents' representations were false. A search of abandoned property sites for
24
     California and South Dakota show no funds or property of Aurora or Aurora's Trust have been received
25
     by or sent to these States.(See Exhibits M and N.)
26
            66.     Further, Respondents did indeed possess documents relative to Aurora's Trust, but
27
     Respondents refused to provide Aurora's heirs with the requested documents and misrepresented to Ms.
28
     Banaag and Petitioner herein that Citibank "[does] not keep a copy ofthe Trust Agreement."

                                                          11
                              PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
             Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 15 of 56




 1           67.     Respondents knew that the representations were false when Respondents made them, or
 2   Respondents made the representations recklessly and without regard for their truth.
 3           68.     Respondents intended that Ms.Banaag and Petitioner herein rely on the representations.
 4           69.     Ms. Banaag and Petitioner reasonably relied on the representations.
 5           70.     Ms. Banaag and Petitioner were harmed, and
 6           71.     Ms. Banaag's and Petitioner's reliance on Respondents' representations was a
 7   substantial factor in causing that harm to Ms. Banaag and Petitioner herein.
 8                                        THIRD CAUSE OF ACTION
 9                                       (Negligent Misrepresentation)
10           72.     Petitioner incorporates by reference as though fully set forth herein all previous
11   allegations of this Petition.
12           73.     Respondents represented to Ms. Banaag and Petitioner herein that a fact was true, that
13   being that Citibank did not have documents or information regarding Aurora's Trust account at
14   Citibank, and that the Trust account funds had been escheated to the state of California and/or South
15   Dakota.
16           74.     Respondents' representations were not true.
17           75.     Respondents may have honestly believed that the representations were true, but
18   Respondents had no reasonable grounds for believing the representations were true when they were
19   made.
20           76.     Respondents intended that Ms.Banaag and Petitioner herein rely on its representations.
21           77.     Ms. Banaag and Petitioner herein reasonably relied on Respondents' representations.
22           78.     Ms. Banaag and Petitioner herein were harmed.
23
             79.     Ms. Banaag's and Petitioner's reliance on Respondents' representations was a
24
     substantial factor in causing Petitioner's harm.
25
                                         FOURTH CAUSE OF ACTION
26
                                                  (Concealment)
27
             80.    Petitioner incorporates by reference as though fully set forth herein all previous
28
     allegations of this Petition.

                                                          12
                              PETITION FOR ORDERS(PROBATE CODE § 850 et seq)
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 1           81.    Respondents disclosed some facts to Petitioner, but intentionally failed to disclose other
 2   facts, making the disclosure deceptive; further, Respondents intentionally failed to disclose certain facts
 3   that were known only to Respondents and that Petitioner could not have discovered; and further,
 4   Respondents prevented Petitioner from discovering certain facts.
 5           82.    Petitioner did not know ofthe concealed facts.
 6           83.    Respondents intended to deceive Petitioner by concealing the facts.
 7           84.    Had the omitted information been disclosed, Petitioner reasonably would have behaved
 8   differently.
 9           85.    Ms. Banaag and Petitioner herein were harmed, and
10           86.    Respondents' concealment was a substantial factor in causing Ms.Banaag and Petitioner
11   harm.
12                                           PRAYER FOR RELIEF
13           WHEREAS,PETITIONER prays for:
14           1.     An Order authorizing and directing the personal representative or other fiduciary of
15   Respondents, or the person having title to or possession of the property ofthe Trust of Aurora V.
16   Barcebal, to execute a conveyance or transfer of all said property to Ms. Banaag and Petitioner herein,
17   or granting other appropriate relief.
18           2.     An Order finding that Respondents have in bad faith wrongfully taken, concealed,
19   and/or disposed of property belonging to the Trust of Aurora V. Barcebal;
20           3.     An Order finding that Respondents are liable for twice the value ofthe property
21   recovered by the within action brought under Probate Code § 805 et seq.;
22           4.     For damages caused by Respondents' intentional misrepresentation, according to proof;
23
             5.     For damages caused by Respondents' negligent misrepresentation, according to proof;
24
             6.     For damages caused by Respondents' concealment, according to proof;
25
             7.     For reasonable attorney's fees and costs, as determined in the court's discretion;
26
             8.     For compensatory damages, according to proof;
27
             9.     For exemplary damages, according to proof; and
28
             10.    For such further orders as the Court deems proper.

                                                         13.
                             PETITION FOR ORDERS(PROBATE CODE § 850 et seq.)
          Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 17 of 56




 1                                           Respectfully submitted,
 2
                                             LAW OFFICE OF ROBERT MILLS
 3
 4   DATED: September 9, 2022                By:
                                                     Robert     Is, Esq.
 5                                           Attorney and Fiduciary (Legal Representative) as
                                             Interested Person for GEORGINA G. BANAAG,
 6                                           Heir/Interested Person
 7
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                       PETITION FOR ORDERS(PROBATE CODE § 850 etseq)
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            EXHIBIT A
                                           Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 19 of 56
                                                                                                            11111111111111111111101111111110111111111111111                      retoRixocui
                                                                                                                                                                                          :



                                                                                                                 October 1 - October 31, 2021                     Pbge 1 Old
                                           Citigold                                                              Citigold Account       42006622957




                                                                                                                                                                                               EXHIBIT A Page 1 of 1
                                        00000636 BB CCC 302 J5Y/316NA NBC 1 1YT D
                                                                                                                 CIT1GOLD SERVICES
                                  AURORA V. BARCEBAL ATF                                                         PO Box 6201
                                                                                                                 Sioux Fells, SD 57117-6201
                                  2010 AURORA V BARCEBAL REV TRUST                                               Citlgold Dedicated Servicing: 888-2484485
                                  DATED 05/24/2010                                                               For banking, call your Relationship Manager:
                                  764 KINGS ROAD,SAMAT                                                                Judy Zhu, 510492-0930'
                                  MANDALUYONG METRO                                                              For Investments, call your Financial Advisor:
                                  MANILA PHILIPPINES                                                                  Josie Su, 408-481-1074'
                                                                                                                 For speech or hearing impaired customers dial: 711
                                                                                                                 Website: www.citibankcom
3




    DigoId is a service of. Citibank, N.A. The following summary portion of the statement is provided for informational purposes.

     •                                                                                                                  IA!
                                                                                                        irtittrij23
      _C!tib!unk Accounts     _                                                                    Citibank Acc-Outite
                                                                                                  _Checking'
       chec g_          _                                     75,947.76              0.00           C_ hecking                                                 0.00            177,62
     ,Savings.                                                                                   _Szwingx
        Insurect_Morrey4e1                                                                          insurceri t4n Pularkeyl Jy•nrsi int                        0.00         -
      Citigold Relationship Total_                         $302,678.55              $0.00          Citigold Relationship TOtal                                $0.00        $152.64
I
•   'To ensure quality service, calls are randomly monitored and may be recorded,

-
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            EXHIBIT B
    Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 21 of 56




September 24,2017

Citibank
SF-Inner Richmond
4455 Geary Blvd.
San Francisco, CA 94118

Attention: Ms. Connie Li
         Financial Center Manager



Dear Ms. Li,

Please be advised that my sister, Aurora V. Barcebal, passed away last January 23, 2015,
here in the Philippines.

My sister, Zenaida B. Taccad and myself, Leonida B. Garcia, are the only heirs of the
deceased.

Attached herewith is your reference letter dated September 12, 2013.

May we know the status of her accounth so that preparation of requirements will be
submitted to your branch soonest.

You can mail letters or any documents to be signed or prepared by us at 764 Kings Road,
Highway Hills, Mandaluyong City, Philippines, 1550.

My other contact details are telephone number(632)533-9169 or e-mail address
ginnygb@pldtdsl.net.

Thank you.



Very truly yours,

Leonida B. Garcia




                                                                 EXHIBIT B Page 1 of 1
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            EXHIBIT C
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Citibank Service Center
100 Citibank Drive
San Antonio, TX 78245-3214
                                                                                          ciii
November 20,2017


LEONIDA BARCEBAL GARCIA
ESTATE OF AURORA V. BARCEBAL
764 KINGS ROAD
HIGNWAY HILLS, MANDALUYONG CITY
PHILIPPINES 1550




Dear Leonida Barcebal Garcia,

We recently received your correspondence concerning the Estate of Aurora V. Barcebal. In order
to release information or to close the account(s) ending with 2957 and 1349, please submit a
copy of the English translated Death Certificate, an Ancillary letter issued within the California,
notarized Letter of Instruction and Federal Transfer Certificate issued by Internal Revenue
Service.

Please be advised that we cannot mail a check to Philippine. Enclosed are wiring instructions and
a wire transfer form. Please fill out completely so that we can process your request for account
closure.

Please be advised all documents must be in English translation and must include an attestation
from the United States Consulate, Embassy, or Apostille.

You may submit the requested documents to the address requested above or you may fax them to
866-215-6523.

If you have any questions, please call CitiPhone Customer Service at 1-800-627-3999. Speech or
hearing impaired customers may call our text telephone service at 1-800-945-0258.
Representatives are available to assist you 24 hours a day,7 days a week.


Sincerely,

Gowtham Prabhakaran
Branch and Client Services




The Citibank Service Center provides customer account servicesfor Citibank N.A.




                                                                                  EXHIBIT C Page 1 of 1
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            EXHIBIT
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                                                                           January 25,2018




CITIBANK SERVICE CENTER
100 Citibank Drive
San Antonio TX 78245-3214


                        Attn: Mr. Arun S M
                              Branch and Client Services

                       Re:   Your Letter dated January 4,2018
                       (concerning Estate ofAurora V. Barcebal)

Dear Mr. Arun:

       We write on behalf of our client, Ms. Leonida Barcebal Garcia, in reply to your
above-referenced letter.

        Our client would like us to express her gratitude in providing her with instructions
and an enclosed trust certification as part ofthe on-going process to close the account and
effect transfer ofthe funds ofthe deceased Aurora V.Barcebal.

      However, we have a couple of concerns which we hope your expertise in
customer service can provide us with viable solutions.

        Firstly, in lieu of a trust agreement referred to in your letter, would the notarized
Extrajudicial Settlement of Estate suffice? This is the legal document required in the
Philippines, sworn before a notary public, whereby successors and heirs make declaration
ofkinship and the provisions on settlement of estate. Should your legal department find
this unacceptable, can you propose an equivalent replacement that can be executed here
in the Philippines?

         Secondly, our client does not have the Federal Transfer Certificate issued by the
Internal Revenue Services. Is there a form which your good office can provide? Or if
this is a document to be procured directly with the IRS, considering the circumstances of



                                             1




                                                                     EXHIBIT D Page 1 of 2
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 our client, is there an equivalent acceptable document to satisfy this requirement? As
 mentioned in our prior communication,our clients are senior citizens - Ms. Leonida
 Garcia is 85 years old, while her sister Zenaida is 79 years old - with limited financial
 resources.

        Travelling to the United States is a virtual impossibility. However, if any
 procedure can be accomplished here in the Philippines before the US consulate office
 located here in Manila, our client can endeavor to comply with the same.

        All of the decedent's assets have thus far been settled and released to her heirs
(our clients) except this pending issue and asset owing to distance and difficulty in
 obtaining information on this matter. We would greatly appreciated your help in finding
 solutions to resolve these final requirements.

        We look forward to your reply and hope for your assistance.


                                                    Very truly yours,




                                                    RICHARD NEIL S. CHUA




                                           2




                                                                   EXHIBIT D Page 2 of 2
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            EXHIBIT E
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            Big        LIGON SOLIS MEJIA*FLORENDO
                                                       LAW F'RIME
                       THE PENTHOUSE,ZETA BUILDING, 191 SALCEDO STREET, LEGASPI VILLAGE, MAKATI CITY, PHILIPPINES
                                      TEL. NOS.:(632)8940601 / 8945737/ 8175672 - FAX NO.(632)8945737


ANTONIO A. LIGON
H. LAN!S. SOLIS
JOSE V. MEJIA*
EMMANUEL G.FLORENDO*
LUCIA I. L. LABAD - BERNARDO
NELSON P. LALUCES*
ANNA RHEA V. SAMSON                                                                        July 20, 2018
BELTRAN D. ADRICULA,JR.
RICHARD NIEL S. CHUA
MARK KRISTOPHER G.TOLENTINO
CHARITY T. PEDRAJAS

*on leave

        CITIBANK SERVICE CENTER
        100 Citibank Drive
        San Antonio TX 78245-3214


                                          Attn: Mr. Omkumar E K
                                                Branch and Client Services

                                         Re:      Estate ofAurora V. Barcebal

        Dear Mr. Omkumar:

               We thank you for your letter dated May 15, 2018, and for enclosing the trust certification form
       along with the Federal Transfer Certificate.

                You have instructed our clients to send to your office the foregoing documents accompanied by
       "the original trust agreement" to enable you to confirm the late Aurora V. Barcebal's successor
       trustees. Unfortunately, our clients do not have a copy of that original trust agreement for the two
       accounts ending in 2957 and 1349. Are we to understand that this original trust agreement is a document
       executed by Aurora V. Barcebal during her lifetime?

               We wish to inform your good office that our clients only became aware of these bank
       deposits/assets with your bank due to continuing mail matter being received at the decedent's last address -
       here in the Philippines. After diligently searching through the personal effects of the late Aurora
       Barcebal, our clients did not find any copy of a trust agreement relating to the subject bank
       deposits/accounts.

                In this regard, could your good office furnish to us a copy ofthe cited Trust Agreement, and our
       clients can attest or confirm their identities as trustees therein before a-consulate office. Or, if no such
       trust agreement exists in your records, as the sole surviving heirs of Aurora Barcebal, is it not the case
       that Ms. Leonida Garcia and Mrs. Zenaida Taccad are entitled under the relevant laws of succession to
       receive the funds as compulsory heirs?

               We patiently await for your enlightenment on this situation, as we are unfamiliar with the
       protocols relating to the closure ofa decedent's bank accounts in the U.S. However, we posit that a trust




                                                                                     EXHIBIT E Page 1 of 2
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LIGON SOLIS MEJIA FLORENDO
  agreement is not the only means by which these funds may be transferred, as often times legitimate heirs
  or successors are unaware of or simply not in possession ofparticular documents ofthe decedent. We are
  relying on your assistance on this matter and at the soonest possible time, as our clients Ms. Leonida
  Garcia is already 85 years old and Mrs. Zenaida Taccad is 80 years old this year, and the decedent has
  passed away more than three years ago to date.

           Additionally, can you please advise us of any applicable taxes to be imposed in this situation, as
  well as the possibility of having such expectant taxes to be deducted by your bank from the total proceeds
  payable to the heirs? Again, our clients Garcia and Taccad are of advanced age, hence, any means
  wherein these processes can be expedited with the least amount ofcost and efforts is highly desired.

          Finally, the following is the physical address and valid telephone number, along with other
  pertinent details ofour client:

          Beneficiaries: Leonida B. Garcia and Zenaida B. Taccad

          Address: 764 Kings Road, Highway Hills, Mandaluyong City, 1550.

         Tel. Nos. (632)533 91 69 and (632)533 37 35

         Email add georgegb357@gmail.com


         We thank you again for your patience and continued assistance on this matter, and we look
 forward to hearing from you soon.



                                                           Very truly yours,




                                                              HARD NEIL S. CHUA
                                                          For the Firm.




                                                                          EXHIBIT E       Page 2 of 2
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            EXHIBIT F
                 Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 31 of 56
                  dows%,
                CIII           100 CITIBANK DRIVE
                               SAN ANTONIO TX 78245-9965
                                                                                     Our Research                          Account Ending 2957
                                                                                       Results



                               .11/27/2018                                                                       R-124592181107



                                                                                              00000005
                               LIGON SOLIS MEJIA FLORENDO LAW FIRM
                               THE PENTHOUSE,ZETA BUILDING
                               191 SALCEDO STREET,LEGASPI VILLAGE
                               MAKATI CITY PHILIPPINES
                                                                                                                   www.citibank.com


                               Dear LIGON SOLIS MEJIA FLORENDO LAW FIRM,
                        ---We-received-youF-correspondence-coneeming-the-Estate-of AtirOra-V: Barcebal-.-We-- - -------
—
_ONO
       Writing to You      understand that you may be faced with a number of financial details involving the customer's
—
—                         account(s) and want to assure that we are here to guide you through this process:
am
NM
.I P
_
MN&

—          What You            In order to release information or close the account(s) ending in 2957 and 1349, we will need
AM
MIA
=
             Need to           the original Trust Agreement naming the successor trustee(s), a completed and attested Trust
—
....           Know            Certification (enclosed) and a Federal Transfer Certificate issued by Internal Revenue
—
—
=MD
                           '   Service.
WIN
IMO


                               If you are needing a copy of the original trust agreement used to open the account please
                               contact the branch of domicile below:

                               4455 Geary Blvd
                               San Francisco, CA 94118
                               Phone Number-415-649-6969

                               Please be advised all documents must be in English translation and must include an
                               attestation from the United States Consulate, Embassy, or Apostille.

            How to             If you have any questions or would like to speak with a representative, Customer Service can
         Contact Us            be contacted 24 hours a day,7 days a week at:

                                    CitiPhone                                                          1-888-248-4226
                                    Spanish Language Calls                                             1-800-360-2484
                                    Text Telephone Service(TDD)                                        1-800-945-0258
                                    International Collect & Toll Free                                  1-210-677-0065

                               We appreciate your business with Citibank and look forward to serving all your future financial
                               needs.

                               Sincerely,
                               Citibank Client Services
                            Calls are randomly monitored and recorded to ensure quality service.
                            Citibank Client Services provides customer account services for Citibank, N.A.
                            @ 2018 Citigroup Inc. Citibank, N.A. Member FDIC. Citibank is an equal credit opportunity lender.




                                                                                                                                 1072

                                                                                                                            R-124592181107




                                                                                                     EXHIBIT F Page 1 of 1
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            EXHIBIT G
              Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 33 of 56


            LSWIF LIGON SOLIS MEJIA*FLORENDO
                           LAW F
                       THE PENTHOUSE,ZETA BUILDING, 191 SALCEDO STREET,LEGASPI VILLAGE, MAKATI CITY,PHILIPPINES
                                      TEL. NOS.:(632)8940601 / 8945737/ 8175672 - FAX NO.(632)8945737


ANTONIO A. LIGON
H. LAM S. SOLIS
JOSE V. MEJIA*
EMMANUEL G. FLORENDO*
LUCIA I. L. LABAD - BERNARDO
NELSON P. LALUCES*
ANNA RHEA V. SAMSON

BELTRAN D.ADRICULA,JR.
RICHARD NIEL S. CHUA
MARK KRISTOPHER G.TOLENTINO                                                                      February 13,2019
CHARITY T. PEDRAJAS

*on leave


        CITIBANK,N.A.
        No. 4455 Geary Blvd
        San Francisco,CA 94118


                                          Attn: Ms. Connie Li
                                                Branch Manager

                                          Re:     Estate ofAurora V. Barcebal

        Dear Ms. Li:

                We write on behalf of our clients, Ms. Leonida Garcia and Mrs_ Zenaida Taccad, who are the
       .heirs of the late Aurora V. Barcebal, and in connection with our claims involving the funds of the
        decedent with Citibank.

               In connection with our claims, certain documents were requested by Citibank Client Services
        from our clients, among which is the original Trust Agreement relative to accounts ending in 2957 and
         1349.

                 Considering that our clients do not have this Trust Agreement, and we were specifically directed
        to your good office to secure this original copy. In line with that objective, we respectfully request for the
        original trust agreement used to open said account to be forwarded to our law office. We have included
        a photocopy of the 11/27/2018 letter from Citibank Client Services for your reference.

               Should there be any question or issues with our request, kindly contact me at
        <rich_chua@yahoo.com>. Thank you for your assistance.

                                                                           Very truly yours,




                                                                               HARD NEIL S. CHUA
        Cc:                                                                For the Firm.

        Citibank Client Services
        100 Citibank Drive




                                                                                    EXHIBIT G Page 1 of 1
Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 34 of 56




            EXHIBIT H
                Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 35 of 56



            Big            LIGON SOLIS MEJIA*FLORENDO
                                                          LAW Fnir
                          THE PENTHOUSE,ZETA BUILDING, 191 SALCEDO STREET, LEGASPI VILLAGE,MAKATI crry;PHILIPPINES
                                         TEL. NOS.:(632)8940601 /8945737/ 8175672 - FAX NO.(632)8945737


ANTONIO A.LIGON
H.LAN! S. SOLIS
JOSE V. MEJIA*
EMMANUEL G. FLORENDO*
LUCIA I. L.LABAD - BERNARDO
NELSON P. LALUCES*
ANNA RHEA V. SAMSON

BELTRAN D.ADRICULA,JR.
RICHARD NIEL S. CHUA
MARK KRISTOPHER G.TOLENTINO                                                                   June 16,2019
CHARITY T. PEDRAJAS

*on leave
            CITIBANK CLIENT SERVICES
            100 Citibank Drive
            San Antonio TX 78245-9966


                                            Re:      Estate ofAurora V. Barcebal

            Dear CCS:

                    We write on behalf of our clients, Ms. Leonida Garcia and Mrs. Zenaida Taccad, who are the
            heirs of the late Aurora V. Barcebal, and in connection with our claims involving the funds of the
            decedent with Citibank.

                    In your letters dated November 27, 2018, and again on February 25, 2019, you required us to
            secure the original Trust Agreement relative to accounts ending in 2957 and 1349. In your letters, you
            directed us to contact and request the same from the branch of domicile below:

                   CITIBANK,N.A.
                   No. 4455 Geary Blvd.
                   San Francisco, CA 94118

               Accordingly, we wrote to Ms. Connie Li, Branch Manager of said branch in a letter dated
        February 13, 2019, a copy of which we herewith include.

                 We have not received any reply from said recipient bank for quite some time, prompting our
        client's representative to call said branch. Ms. Banaag personally spoke to Ms. Connie Li and was
        advised that she had sent out a reply letter to our law office (which, again, we have not received) and
        further informed our client's representative over the phone that:

                   "They do not keep a copy ofthe Trust Agreement..."
                   and
                   "...the only option is to take up the matter with the US. court..."

                 Needless to say, we are dismayed at such a development. Not only are we baffled that the
        domicile bank does not retain a copy of the Trust Agreement, but we are alarmed that the advice to our
        clients is to institute legal proceedings in this matter. We wonder if this is a standard protocol for your
        bank to suggest such remedy. Moreover, it is inexplicable and unrealistic to expect the heirs to have a




                                                                                         EXHIBIT H Page 1 of 2
       Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 36 of 56

LIGON SOLIS MEJIA FLORENDO


  copy of all the legal documents of the decedent, especially when her death was unexpected and her
  personal effects may have been lost or entrusted in unknown deposits. This is why your bank should
  logically provide the needed document. Instead, we have been at a standstill on this matter for over a year
 (since our first letter to Mr_ Arun S.M. dated March 13, 2018).

          We write this final letter to your good selves to appeal for assistance. Perhaps your direct
  intervention with the domicile bank is necessary to verify of the information relayed to our clients'
  representative, Ms. Banaag. Our clients are elderly and we earnestly hope a resolution can be offered by
  your group at the soonest possible time.

          We thank you in advance for your attention to this pressing concern.


                                                                   Very truly yours.'.




                                                                   RICHARD NEIL S. CHUA
 Cc:                                                               For the Firm.

 CITIBANK,NA.
 No. 4455 Geary Blvd
 San Francisco, CA 94118




                                                                             EXHIBIT H Page 2 of 2
Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 37 of 56




            EXHIBIT I
                                                                 cifitank®
                                                                     Case 4:22-cv-07827-DMR            Document 1-1 Filed 12/09/22 Page 38 of 56
                                                                                                                                                                Fl




                                                               FIRST CLASS MAIL 08/10/2021
                                                               NAME:            AURORA V BARCEBAL
                                                               DESCRIPTION:     CHECKING ACCOUNTS
                                                               ACCOUNT NUMBER: ) 000000(1349
                                                               PROPERTY ID:     L X-51661340
                                                               FIMP:            000013
                                                               STATE:           ZZ
                                                               BRANCH:          00041



                                                               THANK YOU FOR BANKING WITH CITIBANK. WE APPRECIATE YOUR BUSINESS AND THE OPPORTUNITY TO
                                                               SERVE YOU.
1111111111111111111111111111111111111111111111111




                                                               BY SIGNING BELOW, I ACKNOWLEDGE OWNERSHIP OF THIS ACCOUNT AND CONFIRM MY CONTACT
                                                               I NFORMATION.




                                                               SIGNATURE                           DATE           ADDRESS (IF DIFFERENT FROM ABOVE)
                                                                                                              0      Check here to update physical address
                                                                                                              1=I    Check here to update mailing address


                                                                AS PART OF OUR RESPONSIBILITY TO PROTECT YOU FROM UNAUTHORIZED ACCOUNT ACTIVITY, IF AN
                                                                ADDRESS CHANGE IS REQUIRED AND YOU DECIDE TO RETURN THIS LETTER BY MAIL YOUR SIGNATURE
                                                                M UST BE NOTARIZED. IF OUTSIDE OF THE UNITED STATES PLEASE VISIT A U.S. EMBASSY OR CONSULATE
                                                                TO HAVE THE DOCUMENT NOTARIZED; A NOTARY WHO IS COMMISSIONED OUTSIDE OF THE UNITED
                                                                STATES CANNOT BE ACCEPTED. YOU MAY ALSO UPDATE YOUR ADDRESS AT ANY CITIBANK BRANCH.

                                                                                           CITI RETAIL ABANDONED PROPERTY
     EOLR404G 1076 5030 CFM077 07 210810 PAGE 00002 OF 00002




                                                               IF YOU HAVE QUESTIONS ABOUT THIS LETTER,PLEASE CALL THE CITIBANK RETAIL ABANDONED PROPERTY
                                                               UNIT AT 1-888-926-0233 BETWEEN 7:30AM AND 4:00PM CST MONDAY-FRIDAY.
                                                               YOU MAY ALSO EMAIL QUESTIONS TO RETAILABP@CITI.COM.
                                                               YOU MAY ALSO CONTACT CITIPHONE CUSTOMER SERVICE AT 1-888-248-4226.
                                                               HEARING OR SPEECH IMPAIRED CUSTOMERS MAY CALL 1-800-945-0258.
                                                               REPRESENTATIVES ARE AVAILABLE TO ASSIST YOU 24 HOURS A DAY, 7 DAYS A WEEK.
                                                               CALLS ARE RANDOMLY MONITORED AND RECORDED TO ENSURE QUALITY SERVICE.




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                                                               marks of Citigroup Inc. or its affiliates, used and registered throughout the world.
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Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 39 of 56




            EXHIBIT
       Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 40 of 56




                      LAW OFFICE OF ROBERT MILLS
                        1 29 S. Valley Center Avenue, Glendora, CA 91740
          Tel:(626)827-1419     Fax:(909)692-3688 Email: robert@mills-law-office.com

SENT BY U.S.P.S.PRIORITY MAIL

April 8, 2022

CITIBANK,N.A.
4455 Geary Blvd.
San Francisco, CA 94118

CITIBANK CLIENT SERVICES
U.S. Service Center
Attn: C.P.S.
P.O. Box 769007
San Antonio, TX 78245-9966

CITIGOLD CLIENT SERVICES
U.S. Service Center
Attn: C.G.S.
P.O. Box 769007
San Antonio, TX 78245-9966

CITIGOLD SERVICES
PO Box 6201
Sioux Fall, SD 57117-6201

CITIBANK,NA
1000 Technology Drive
O'Fallon, Mo 63368

Re:    AURORA V. BARCEBAL ATF 2010 AURORA V BARCEBAL REV TRUST
       DATED 05/24/2010

       CITIGOLD ACCOUNT NO.42006622957

To the respective representatives ofthe above-referenced Citibank/Citigold banking entities:

My office represents Georgina Banaag who is an heir of Aurora V. Barcebal. Enclosed is an
Attorney Authorization Form ("Rep Letter") signed by Ms. Bannag consenting to my
communication with you on Ms. Banaag's behalf.

Aurora V. Barcebal passed away in 2015 at which time Ms. Barcebal was the trustor and trustee
ofthe Aurora V. Barcebal Revocable Trust Dated 05/24/2010(the "Trust"). The Trust had a trust
account with Citibank as a Citigold account.




                                                                            EXHIBIT J 1 0f5
       Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 41 of 56

Letter to Citibank
RE: Aurora V. Barcebal
Citigold Account No.42006622957
April 8, 2022
Page 2 of 3


Enclosed for your reference is Page 1 of a Citigold account summary for Aurora V. Barcebal's
account under the name of the 2010 Aurora V. Barcebal Revocable Trust, for the period of
October 1 to 31, 2021 to confirm the existence and continued handling by Citibank ofthe Trust
account.

Since Ms. Barcebal's passing, my client and other heirs have been searching for the Trust
documents without success. The search narrowed down to Citibank where the trust account is
and should be located due to the understanding that a bank should have copies oftrust documents
which were provided by Ms. Barcebal to open the trust account.

Multiple requests have been made to Citibank over the past 7 years for a copy ofthe Trust
Agreement, but the requests were either never answered or responded to with information that
led nowhere. In a discussion in 2019 between my client and Citibank representative Connie Li,
Ms. Li stated that Citibank does not have a copy ofthe Trust Agreement and that my client's
"only option is to take up the matter with the U.S. Court."

It is not clear why Ms. Li would openly advise my client that court intervention is the "only
option" to obtain documents which are believed to be in Citibank's possession, which Citibank
denies.

In any event, I trust you are aware ofthe common and standard practice for banking institutions
in California to see and obtain a copy ofa Trust document whenever a trust account is opened in
order to identify and confirm the identity ofthe Trust and the person opening such an account.
Every one of my clients who have opened a trust account at any bank (with or without my
assistance) has been asked by the bank to provide trust documents and if none are available, the
bank will not open a trust account until trust documents are provided.

I am aware that a bank needs and requests to see a trust document primarily to identify the trust
name,the trustee and any powers the trustee may have to open a bank account on behalf ofthe
trust. Very often the customer will provide a Certificate of Trust which will name the trust's title,
the trustee, the date the trust was executed, and some ofthe pertinent rights and duties of the
trustee, without naming any beneficiaries or how the trust assets will be distributed.

Thus, we can agree that pertinent information about the Barcebal Trust was provided to Citibank
when the trust account was opened, evidenced by the full name ofthe Trust on its bank
statements(which Citibank continues to mail out). We trust that this information and
documentation are kept on file with Citibank and accordingly, my client requests that such
documentation be provided to her without delay.




                                                                                EXHIBIT J 2 of 5
        Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 42 of 56

'Letter to Citibank
 RE: Aurora V. Barcebal
 Citigold Account No.42006622957
 April 8, 2022
 Page 3 of 3


There is no valid reason to withhold such information from my client and there are ample and
sufficient reasons to provide the information/documentation. Ms. Barcebal passed away in 2015
and trust assets have yet to be distributed over the past 7 years. Not being aware of a successor
trustee — if one can be determined by trust documents — has prejudiced any beneficiaries from
being identified and from receiving their proper distribution of assets in a timely manner.

As noted above, my client has made prior requests that Citibank provide a copy ofthe Trust
Agreement and Citibank claims that it does not keep a copy ofthe Trust Agreement. However,
because my client's requests have been made to produce a Trust Agreement without reference to
producing any other document, I believe Citibank has limited its interpretation ofthe request to
mean only the Trust Agreement should be produced, when in fact Citibank should have provided
whatever documents and information it possesses in response to the multiple requests which
relate to the Trust which would have clearly assisted Ms. Barcebal's heirs to resolve this issue
even without the actual Trust Agreement.

I therefore call upon any representative ofthe above entities — either individually or collectively
— to promptly confirm that a diligent search will be made to locate not only the Trust Agreement,
but also any documents related to the Trust, including, but not limited to, a Certification of Trust,
an Affidavit of Trust, partial pages ofthe Trust Agreement, or similar informative documents,
related to the opening ofthe Citibank account in the name ofthe Aurora V. Barcebal Revocable
Trust Dated 05/24/2010.

Indeed, Ms. Li's casual suggestion that my client seek court intervention to obtain any records in
Citibank's possession may eventually be necessary, but I believe that this matter can be resolved
amicably and without the need for time-consuming and costly court action against Citibank.

I trust that Citibank will do all it can to assist my client in this matter and I look forward to
hearing from you and for production of any and all documents as requested herein.

Thank you for your anticipated cooperation.

Very truly yours,

LAW OFFICE OF ROBERT MILLS


Robert Mill ,Esq.
R1\4: mtf

Enclosures

cc: Client



                                                                                  EXHIBIT J 3 of 5
        Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 43 of 56




                         LAW OFFICE OF ROBERT MILLS
                             1429 S,   Valley tenter Avenue, Glendora,CA 91740
            Tel:.(626)•827—p1.19       Fax:(909)592-688 Email: robert@mills-law-office:com


                              ATTORNEY AUTHORIZATION FORM


           I-I ,    ero A_                   E,A-A)A A     ,the undersigned, hereby authorize   flay
attorney,taw Office ofRobert Mills„to act on ray bebal_fin all manners relating to the estate of
Aurora V.Barcebal(date of death: 01/23/2015),inchiding.conxmunication(oral or written) with
financial entities, insurance companies,state offices, and their employees and/or agents, and
including signing ofall documents relating to this matter. Any and all acts carried out by Law
Office ofRobertl'Aills.on my behalfshall have the same effect es adts ofmy own.
         This authorization is valid until further written notice from the undersigned. A photocopy
or facsimile copy ofthis authorization shall have the same effect as the original.

Date:    Ki 0 V 024!".     Da,
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Print Name                                        Sign N




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                                                                                                             October 1 - October 31, 2021                               Page 1 of 4
                                          Citigold                                                           Citigold Account       42006622957




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                                                                                                             CITIGOLD SERVICES
                             AURORA V. BARCEBAL ATF                                                          PO Box 6201
                                                                                                             Sioux Falls, SD 57117-6201
                             2010 AURORA V BARCEBAL REV TRUST                                                Citigold Dedicated Servicing: 888-248-4465
                             DATED 05/24/2010                                                                For banking, call your Relationship Manager:
                             764 KINGS ROAD,SAMAT                                                                 Judy Zhu, 510-492-0930*
                     0
                             MANDALUYONG METRO                                                               For Investments, call your Financial Advisor:
                             MANILA PHILIPPINES                                                                   Josie Su, 408-481-1074'
                                                                                                             For speech or hearing impaired customers dial: 711
                                                                                                             Website: www.citlbank.com




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Citigold is a service of Citibank, N.A. The following summary portion of the statement is provided for informational purposes.

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 Citlgold Relationship Total                             .$302;678.56             $0.00.       Citigold Relationship Total                                       $0;00            $152.64

  To ensure quality service, calls are randomly monitored and may be recorded.
Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 45 of 56




            EXHIBIT K
          Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 46 of 56
                                                                                                         Citibank, N.A.
                                                                                                Office of the President
                                                                                                         P.O. Box 6000
                                                                                           Sioux Falls, SD 57117-6000




April 22, 2022


Robert Mills                                              Citi Reference Number: 202204191058573361033
1429 S. Valley Center Avenue,
Glendora, CA 91740



Hello Robert,

You recently reached out to us on behalf of your client Georgina Banaag regarding our client Aurora Barcebal's
account, and we've reviewed your request.

During our review of the account, we were unable to identify you or your client as authorized signers on the
account and are therefore unable to provide you any information regarding the documents maintained by
Citibank regarding the account. Please provide us with Letters of Administration or Letters Testamentary for
the Estate of Aurora Barcebal so that we may provide the feedback that you require to assist your client.

While reviewing the account, we were able to determine that the account was closed on October 1, 2021,
because the account was considered abandoned property, and the funds were escheated to the State of
California. Since this is a matter of public record, we are able to disclose this information to you.

Thanks for your inquiry. We'd like you to know that it's important to us and we appreciate the opportunity to
respond


                                                                                             Thank you,
                                                                     Your Citi Executive Response Team
                                                                                          605-331-1698*
                                                               *For TTY: Use 711 or other Relay Service
                                                                                       CitiERU@citi.com




                                                                              EXHIBIT K Page 1 of 1
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            EXHIBIT L
                                                                                                            Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 48 of 56
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                                                                                                                                                                     _ Our Research
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                                                                                                         SAN ANTONIO TX 78245-9966


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                                                                                                                ROBERT MILLS
                                                                                                                ESTATE OF AURORA V. BARCEBAL
                                                                                                                1429 S.VALLEY CENTER AVENUE
                                                                                                                GLENDORA         CA 91740
                                                                                                                                                                                            www.citibank.com



                                                                                                                Dear ROBERT MILLS,
11111111111111111111111111111111111111111111 II




                                                                                                                                                         ^                   --•,
                                                                                              Why We're         We received your correspondence regarding the Estate of AURORA V. BARCEBAL. Our
                                                                                           Writing to You       records indicate that the account ending in 2957, went into an inactive status. Unfortunately,
                                                                                                                because this was a dormant account, the State of California required that the account be
                                                                                                                deemed abandoned property after several failed attempts of notification of the dormant
                                                                                                                account status.

                                                                                               What You         Our records show in 10/1/21, the funds from the above mentioned account were remitted to
                                                                                                Need to         the state of California as dormant property. To reclaim the funds, you must file a claim with
                                                                                                  Know          the California. Please visit the California website at
                                                                                                                https://southdakota.findyourunclaimedproperty.com/ for assistance in the matter.

                                                                                                                Please be informed it will take about 6-12 weeks for the funds to show on the website. It might
                                                                                                                be longer with Covid-19. After the database has been updated you will be able to get the
                                                                                                                property ID number from this website: https://southdakotalindyourunclaimedproperty.com/

                                                                                                                In order to obtain the funds due to you, please contact the state comptroller's office through
                             tn                                                                                 written correspondence. The address is:

                                                                                                                Citibank Abandoned Property Unit 1 TMF
                                                                                                                1000 Technology Dr. MS 501
                                                                                                                O'Fallon, MO 63368
                                                                                                                Phone: 888-926-0233
                               E011240011 1076 5081 CFM021 07 220510 PAGE 00001 OF 00001




                                                                                                               (M-F 10:00AM — 3:00PM (Central Standard Time)
                                                                                                               _Fax877,266=0527


                                                                                                How to          If you have any questions or would like to speak with a representative, Customer Service can
                                                                                             Contact Us         be contacted 24 hours a day, 7 days a week at:

                                                                                                                      Citigold                                                      1-888-248-4465
                                                                                                                      Citigold International Collect                                1-210-677-3789
                                                                                                                      Text Telephone Service (TTY)                                  1-800-788-6775

                                                                                                                We appreciate your business with Citibank and look forward to serving all your future financial
                                                                                                                needs,




                                                                                                                                            -EXHIBIT L Page 1 of 1                               i-I4-107971220425
Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 49 of 56




            EXHIBIT M
                                  Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 50 of 56
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     ro begin yoursearchfor unclaimedfunds, enter a Last Name or Business Name.A Last Name or
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     First Name, Results will include common nicknames when a First Name is entered.
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     ro refine your search results, enter a City orZip Code.

 Vote - The undaimedfunds submitted to us occasionally include owner names listed in reverse               Narrow your search
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'nitiate as many unique searches as you like and 'Claim'property as you go. Once you have             ,                       Property ID:
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 ro searchfor property held by other states, visit FindMyFunds.com.



 f you have any questions or concerns regarding the privacy of your information or the legitimacy of this website, please see our Privacy information
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 7nd thatspecific property.

 'nitiate as many unique searches as you like and'Claim'property asyou go. Once you have                                          Property ID:
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 ro searchfor property held by other states, visit FindMyFunds.com.
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 f you have any questions or concerns regarding the privacy of your information or the legitimacy of this website, please see our Privacy Information
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            EXHIBIT N
                                             Case 4:22-cv-07827-DMR Document 1-1 Filed 12/09/22 Page 53 of 56




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 1
                                              VERIFICATION
 2

 3           1,j4it    ODYZ GI N'At G. 8,11--PJ           , declare:
 4           I am over the age of 18 years and I am an interested person in the within matter, and I am
 5   the niece and an heir of the decedent, Aurora V. Barcebal.
 6           My legal representative in this matter is the Law Office of Robert Mills, and attorney
 7           Robert Mills is an interested person representing me in connection with the within
 8   Petition.
 9           I have read the foregoing PETITION FOR 1. ORDER DIRECTING
10   RESPONDENTS TO CONVEY OR TRANSFER ALL PROPERTY OF THE TRUST OF
11   AURORA V. BARCEBAL TO PETITIONER HEREIN;2. ORDER FINDING
12   RESPONDENTS HAVE IN BAD FAITH WRONGFULLY TAKEN,CONCEALED,
13   AND/OR DISPOSED OF PROPERTY BELONGING TO THE TRUST OF AURORA V.
14   BARCEBAL;3. ORDER FINDING THAT RESPONDENTS ARE LIABLE FOR TWICE
15   THE VALUE OF THE PROPERTY RECOVERED BY THE WITHIN ACTION
16   BROUGHT UNDER PROBATE CODE § 805 ETSEQ.;4.INTENTIONAL
17   MISREPRESENTATION; 5. NEGLIGENT MISREPRESENTATION; AND
18   6. CONCEALMENT.
19          The matters stated in said document are true of my own knowledge except those matters
20   stated on information and belief, and as to those matters, I believe them to be true.
21          I declare under penalty of perjury under the laws ofthe State of California that the
22   foregoing is true and correct.
23          Executed on itt/Q vs I 3 / 024.).20 ,in M4&041 u       n.)                   CA 1-ir
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Law Office of Robert Mills                                                                                            US POE
1429 S. Valley Center Ave.                                                                                            FIRST-C
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Glendora, CA 91740




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